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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION




MBLAST INC.,
                         Plaintiff,                   Case No. 2:16-cv-0047 (RWS)
           v.


DATASIFT INC.; DATASIFT SOLUTIONS
INC.

                         Defendants.


                                         FINAL JUDGMENT

     . Pursuant to the Stipulated Motion for Dismissal with Prejudice filed by MbLast, Inc. and
DataSift, Inc. and DataSift Solutions, Inc., the Court hereby enters Final Judgment in the above

matter.

          IT IS HEREBY ORDERED that the above-entitled and numbered cause of action is

DISMISSED WITH PREJUDICE. All costs are to be borne by the party incurring same.

          All motions by either party not previously ruled on are hereby denied.

          The Clerk of the Court is directed to close this case.

          SIGNED this 7th day of April, 2016.




                                                              ____________________________________
                                                              ROBERT W. SCHROEDER III
                                                              UNITED STATES DISTRICT JUDGE
